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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

------------------------------------------------------------ x
In re:                                                       : Chapter 11
                                                             :
IMERYS TALC AMERICA, INC., et al., 1                         : Case No. 19-10289 (LSS)
                                                             :
                    Debtors.                                 : (Jointly Administered)
                                                             :
------------------------------------------------------------ x

                  NOTICE OF AGENDA OF MATTERS SCHEDULED
         FOR TELEPHONIC HEARING ON NOVEMBER 16, 2020 AT 10:00 A.M. (ET)

         This hearing will be held telephonically and by video. All parties wishing to appear
          must do so telephonically by contacting COURTCALL, LLC at 866-582-6878 no
         later than Nov. 16 at 8:30 a.m. to sign up. Additionally, anyone wishing to appear
             by Zoom is invited to use the link below. All parties that will be arguing or
         testifying must appear by Zoom and CourtCall. Participants on CourtCall should
            dial into the call not later than 10 minutes prior to the start of the scheduled
                                 hearing to insure a proper connection.

             PLEASE NOTE THAT THE MICROPHONES ON THE ZOOM MEETING
               WILL BE MUTED AND THE ONLY AUDIO WILL BE THROUGH
                                   COURTCALL

                                        Topic: Imerys 19-10289
                      Time: Nov 16, 2020 10:00 AM Eastern Time (US and Canada)

                                         Join ZoomGov Meeting
                             https://debuscourts.zoomgov.com/j/1617816768

                                         Meeting ID: 161 781 6768
                                            Passcode: 324890

                                              Join by SIP
                                      1617816768@sip.zoomgov.com




   1
            The Debtors in these cases, along with the last four digits of each Debtor’s federal tax
   identification number, are: Imerys Talc America, Inc. (6358), Imerys Talc Vermont, Inc. (9050), and
   Imerys Talc Canada Inc. (6748). The Debtors’ address is 100 Mansell Court East, Suite 300, Roswell,
   Georgia 30076.


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I.       CONTINUED MATTERS:

         1.        Motion of Debtors for Entry of Order (I) Approving Disclosure Statement and
                   Form and Manner of Notice of Hearing Thereon, (II) Establishing Solicitation
                   Procedures, (III) Approving Form and Manner of Notice to Attorneys and
                   Certified Plan Solicitation Directive, (IV) Approving Form of Ballots,
                   (V) Approving Form, Manner, and Scope of Confirmation Notices,
                   (VI) Establishing Certain Deadlines in Connection with Approval of Disclosure
                   Statement and Confirmation of Plan, and (VII) Granting Related Relief [Docket
                   No. 1716 – filed May 15, 2020]

                   Objection / Response Deadline:       Extended by the Court to October 26, 2020
                                                        at 4:00 p.m. (ET); further extended for the
                                                        U.S. Trustee and Talcum Powder Retailers
                                                        to October 28, 2020 at 4:00 p.m. (ET)

                   Objection / Responses Received: 2

                   A.     Objection of American International Industries to Disclosure Statement for
                          Joint Chapter 11 Plan of Reorganization of Imerys Talc America, Inc. and
                          Its Debtor Affiliates Under Chapter 11 of the Bankruptcy Code [Docket
                          No. 1870 – filed June 16, 2020]

                   B.     Certain Insurers’ Objection to (1) Disclosure Statement for Third
                          Amended Joint Plan and (2) Proposed Confirmation Schedule [Docket No.
                          2409 – filed October 26, 2020]

                   C.     Travelers’ Objection to Debtors’ Motion for Entry of Order Approving
                          Disclosure Statement and Granting Related Relief [Docket No. 2410 –
                          filed October 26, 2020]

                   D.     Objection of Johnson & Johnson and Johnson & Johnson Consumer Inc.
                          to Motion of Debtors for Entry of Order (I) Approving Disclosure
                          Statement and Form and Manner of Notice of Hearing Thereon,
                          (II) Establishing Solicitation Procedures, (III) Approving Form and
                          Manner of Notice to Attorneys and Certified Plan Solicitation Directive,
                          (IV) Approving Form of Ballots, (V) Approving Form, Manner, and
                          Scope of Confirmation Notices, (VI) Establishing Certain Deadlines in
                          Connection With Approval of Disclosure Statement and Confirmation of
                          Plan, and (VII) Granting Related Relief [Docket No. 2412 – filed October
                          26, 2020]




2
        At the hearing held on October 8, 2020, the Court directed all objecting parties to file a
consolidated objection with respect to this matter. Accordingly, the Debtors have only listed the most
recent objection or joinder filed for each objecting party.
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                   E.   Objection and Joinder of the Ad Hoc Committee of Imerys Talc Litigation
                        Plaintiffs in Opposition to the Debtors’ Solicitation Motion and Disclosure
                        Statement for Third Amended Joint Chapter 11 Plan of Reorganization of
                        Imerys Talc America, Inc. and Its Debtor Affiliates Under Chapter 11 of
                        the Bankruptcy Code [Docket No. 2413 – filed October 26, 2020]

                   F.   RMI Excess Insurers’ Amended Objection to (1) Disclosure Statement for
                        Third Amended Plan and (2) Proposed Confirmation Schedule [Dkt. 1716,
                        2084, 2290, 2355] and Joinder to Certain Insurers’ Objection [Dkt. 2409]
                        [Docket No. 2417 – filed October 27, 2020]

                        i.     RMI Excess Insurers’ Objection to (1) Disclosure Statement for
                               Third Amended Plan and (2) Proposed Confirmation Schedule
                               [Dkt. 1716, 2084, 2290, 2355] and Joinder to Certain Insurers’
                               Objection [Dkt. 2409] [Docket No. 2416 – filed October 26, 2020]

                   G.   Objection and Joinder of William Hart Plaintiffs in Opposition to the
                        Debtors’ Solicitation Motion and Disclosure Statement for Third
                        Amended Joint Chapter 11 Plan of Reorganization of Imerys Talc
                        America, Inc. and Its Debtor Affiliates Under Chapter 11 of the
                        Bankruptcy Code [Docket No. 2423 – filed October 27, 2020]

                   H.   Joinder of Certain Underwriters at Lloyd’s, London and Certain London
                        Market Insurers to Certain Insurers’ Objection to (1) Disclosure Statement
                        for Third Amended Joint Plan and (2) Proposed Confirmation Schedule
                        [Docket No. 2424 – filed October 27, 2020]

                   I.   United States Trustee’s Objection to Motion of Debtors for Entry of Order
                        (I) Approving Disclosure Statement and Form and Manner of Notice of
                        Hearing     Thereon,    (II)   Establishing    Solicitation  Procedures,
                        (III) Approving Form and Manner of Notice to Attorneys and Certified
                        Plan Solicitation Directive, (IV) Approving Form of Ballots,
                        (V) Approving Form, Manner, and Scope of Confirmation Notices,
                        (VI) Establishing Certain Deadlines in Connection With Approval of
                        Disclosure Statement and Confirmation of Plan, and (VII) Granting
                        Related Relief [Docket No. 2427 – filed October 28, 2020]

                   J.   Amended Objection of Cyprus Mines Corporation and Cyprus Amax
                        Minerals Company to Debtors’ Third Amended Disclosure Statement
                        [Docket No. 2429 – filed October 28, 2020]

                        i.     Objection of Cyprus Mines Corporation and Cyprus Amax
                               Minerals Company to Debtors’ Third Amended Disclosure
                               Statement [Docket No. 2408 – filed October 26, 2020]

                   K.   Objection of Talcum Powder Retailers to Motion of Debtors for Entry of
                        Order (I) Approving Disclosure Statement and Form and Manner of
                        Notice of Hearing Thereon, (II) Establishing Solicitation Procedures,
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                          (III) Approving Form and Manner of Notice to Attorneys and Certified
                          Plan Solicitation Directive, (IV) Approving Form of Ballots,
                          (V) Approving Form, Manner, and Scope of Confirmation Notices,
                          (VI) Establishing Certain Deadlines in Connection With Approval of
                          Disclosure Statement and Confirmation of Plan, and (VII) Granting
                          Related Relief [Docket No. 2432 – filed October 28, 2020]

                   L.     Supplemental Objection of Arnold & Itkin LLP to Debtors’ Solicitation
                          Motion and Disclosure Statement For Third Amended Joint Chapter 11
                          Plan of Reorganization of Imerys Talc America, Inc. and Its Debtor
                          Affiliates Under Chapter 11 of the Bankruptcy Code [Docket No. 2458 –
                          filed November 2, 2020]

                          i.     Objection of Arnold & Itkin LLP to Debtors’ Solicitation Motion
                                 and Disclosure Statement for Third Amended Joint Chapter 11
                                 Plan of Reorganization of Imerys Talc America, Inc. And Its
                                 Debtor Affiliates Under Chapter 11 of The Bankruptcy Code
                                 [Docket No. 2406 – filed October 26, 2020]

                   M.     Kline & Specter’s Amended Supplemental Objection of Arnold & Itkin
                          LLP to Debtors’ Solicitation Motion and Disclosure Statement for Third
                          Amended Joint Chapter 11 Plan of Reorganization of Imerys Talc
                          America, Inc. and Its Debtor Affiliates Under Chapter 11 of the
                          Bankruptcy Code [Docket No. 2464 – filed November 3, 2020]

                   N.     Informal Comments from Pension Benefit Guaranty Corporation

                   Related Documents:

                   i.     Joint Chapter 11 Plan of Reorganization of Imerys Talc America, Inc. and
                          Its Debtor Affiliates Under Chapter 11 of the Bankruptcy Code [Docket
                          No. 1714 – filed May 15, 2020]

                   ii.    Disclosure Statement for Joint Chapter 11 Plan of Reorganization of
                          Imerys Talc America, Inc. and Its Debtor Affiliates Under Chapter 11 of
                          the Bankruptcy Code [Docket No. 1715 – filed May 15, 2020]

                   iii.   Notice of Hearing to Consider Approval of Disclosure Statement for Joint
                          Chapter 11 Plan of Reorganization of Imerys Talc America, Inc. and Its
                          Debtor Affiliates Under Chapter 11 of the Bankruptcy Code [Docket No.
                          1717 – filed May 15, 2020]

                   iv.    Statement of Imerys, S.A. in Connection with the Pending Sale of
                          Substantially all of the Debtors Assets [Docket No. 1975 – filed July 10,
                          2020]



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                   v.      Notice of Continued Hearing to Consider Approval of (A) Disclosure
                           Statement [Docket No. 1715] and (B) Solicitation Procedures Motion
                           [Docket No. 1716] [Docket No. 2009 – filed July 17, 2020]

                   vi.     Amended Joint Chapter 11 Plan of Reorganization of Imerys Talc
                           America, Inc. and Its Debtor Affiliates Under Chapter 11 of the
                           Bankruptcy Code [Docket No. 2083 – filed August 12, 2020]

                   vii.    Disclosure Statement for Amended Joint Chapter 11 Plan of
                           Reorganization of Imerys Talc America, Inc. and Its Debtor Affiliates
                           Under Chapter 11 of the Bankruptcy Code [Docket No. 2084 – filed
                           August 12, 2020]

                   viii.   Notice of Filing of Blacklines of Revised Disclosure Statement and
                           Amended Plan [Docket No. 2086 – filed August 12, 2020]

                   ix.     Debtors’ Status Report Regarding Amended Joint Chapter 11 Plan of
                           Reorganization of Imerys Talc America, Inc. and its Debtor Affiliates
                           Under Chapter 11 of the Bankruptcy Code [Docket No. 2116 – filed
                           August 21, 2020]

                   x.      Joint Statement of the Official Committee of Tort Claimants and the
                           Future Claimants’ Representative Regarding Case Status and the August
                           26, 2020 Hearing [Docket No. 2119 – filed August 21, 2020]

                   xi.     Notice of Continued Hearing to Consider Approval of (A) Disclosure
                           Statement and (B) Solicitation Procedures Motion [Docket No. 2120 –
                           filed August 21, 2020]

                   xii.    Letter in Response to Debtors’ Request for Emergency Teleconference on
                           the Scheduling of Lift Stay Motion [Docket No. 2121 – filed August 24,
                           2020]

                   xiii.   Notice of Filing of Exhibits to Amended Plan [Docket No. 2184 – filed
                           September 10, 2020]

                   xiv.    Notice of Revised Order (I) Approving Disclosure Statement and Form
                           and Manner of Notice of Hearing Thereon, (II) Establishing Solicitation
                           Procedures, (III) Approving Form and Manner of Notice to Attorneys and
                           Certified Plan Solicitation Directive, (IV) Approving Form of Ballots,
                           (V) Approving Form, Manner, and Scope of Confirmation Notices,
                           (VI) Establishing Certain Deadlines in Connection with Approval of
                           Disclosure Statement and Confirmation of Plan, and (VII) Granting
                           Related Relief [Docket No. 2288 – filed October 5, 2020]

                   xv.     Second Amended Joint Chapter 11 Plan of Reorganization of Imerys Talc
                           America, Inc. and Its Debtor Affiliates Under Chapter 11 of the
                           Bankruptcy Code [Docket No. 2289 – filed October 5, 2020]
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                   xvi.    Disclosure Statement for Second Amended Joint Chapter 11 Plan of
                           Reorganization of Imerys Talc America, Inc. and Its Debtor Affiliates
                           Under Chapter 11 of the Bankruptcy Code [Docket No. 2290 – filed
                           October 5, 2020]

                   xvii.   Notice of Filing of Blacklines of Further Revised Disclosure Statement
                           and Further Amended Plan [Docket No. 2291 – filed October 5, 2020]

                   xviii. Declaration of Jeanne C. Finegan in Support of Publication Notice and
                          Supplemental Publication Plan [Docket No. 2292 – filed October 5, 2020]

                   xix.    Debtors’ Omnibus Reply in Support of Motion for Entry of Order (I)
                           Approving Disclosure Statement and Form and Manner of Notice of
                           Hearing Thereon, (II) Establishing Solicitation Procedures, (III)
                           Approving Form and Manner of Notice to Attorneys and Certified Plan
                           Solicitation Directive, (IV) Approving Form of Ballots, (V) Approving
                           Form, Manner, and Scope of Confirmation Notices, (VI) Establishing
                           Certain Deadlines in Connection with Approval of Disclosure Statement
                           and Confirmation of Plan, and (VII) Granting Related Relief [Docket No.
                           2293 – filed October 5, 2020]

                   xx.     Notice of Filing Chart of Responses of the Official Committee of Tort
                           Claimants and the Future Claimants’ Representative to Objections to the
                           Trust Distribution Procedures [Docket No. 2295 – filed October 5, 2020]

                   xxi.    Notice of Filing of Revised Trust Distribution Procedures [Docket No.
                           2296 – filed October 6, 2020]

                   xxii.   Notice of Filing of Corrected Revised TDP [Docket No. 2298 - filed
                           October 6, 2020]

                   xxiii. Motion to Adjourn Disclosure Statement Hearing Pursuant to Bankruptcy
                          Rule 3017(a) [Docket No. 2301 – filed October 6, 2020]

                   xxiv. Motion to Shorten Notice of Joint Motion to Adjourn Disclosure
                         Statement Hearing [Docket No. 2302 – filed October 6, 2020]

                   xxv.    Joinder of Arnold & Itkin LLP to Cyrus Historical Excess Insurers’
                           Motion to Adjourn Disclosure Statement Hearing Pursuant to Bankruptcy
                           Rule 3017(a) [Docket No. 2305 – filed October 6, 2020]

                   xxvi. Joinder of Ad Hoc Committee of Talc Litigation Claimants to Cyprus
                         Historical Excess Insurers’ Motion to Adjourn Disclosure Statement
                         Hearing Pursuant to Bankruptcy Rule 3017(a) [Docket No. 2307 – filed
                         October 7, 2020]




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                   xxvii. Third Amended Joint Chapter 11 Plan of Reorganization of Imerys Talc
                          America, Inc. and Its Debtor Affiliates Under Chapter 11 of the
                          Bankruptcy Code [Docket No. 2354 – filed October 16, 2020]

                   xxviii. Disclosure Statement for Third Amended Joint Chapter 11 Plan of
                           Reorganization of Imerys Talc America, Inc. and Its Debtor Affiliates
                           Under Chapter 11 of the Bankruptcy Code [Docket No. 2355 – filed
                           October 16, 2020]

                   xxix. Notice of Filing of Blacklines of Revised Disclosure Statement and Third
                         Amended Plan [Docket No. 2359 – filed October 16, 2020]

                   xxx.   Notice of Continued Hearing to Consider Approval of (A) Solicitation
                          Procedures Motion [Docket No. 1716] and (B) Disclosure Statement
                          [Docket No. 2355] [Docket No. 2360 – filed October 16, 2020]

                   xxxi. Notice of Filing of Further Revised Trust Distribution Procedures [Docket
                         No. 2370 – filed October 19, 2020]

                   xxxii. Notice of Further Revised Order (I) Approving Disclosure Statement and
                          Form and Manner of Notice of Hearing Thereon, (II) Establishing
                          Solicitation Procedures, (III) Approving Form and Manner of Notice to
                          Attorneys and Certified Plan Solicitation Directive, (IV) Approving Form
                          of Ballots, (V) Approving Form, Manner, and Scope of Confirmation
                          Notices, (VI) Establishing Certain Deadlines in Connection with Approval
                          of Disclosure Statement and Confirmation of Plan, and (VII) Granting
                          Related Relief [Docket No. 2400 – filed October 23, 2020]

                   xxxiii. Letter to the Honorable Laurie Selber Silverstein Regarding Adjournment
                           of Disclosure Statement Hearing [Docket No. 2477 – filed November 6,
                           2020]

                   xxxiv. Notice of Continued Hearing to Consider Approval of (A) Solicitation
                          Procedures Motion [Docket No. 1716] and (B) Disclosure Statement
                          [Docket No. 2355] [Docket No. 2481 – filed November 6, 2020]

                   Status: The hearing on the Motion, including consideration of the Debtors’
                           proposed Disclosure Statement, has been continued to December 17, 2020
                           at 10:00 a.m. (ET).

         2.        Motion of the Debtors for an Order Confirming Classification of Certain Claims
                   Filed in the Chapter 11 Cases as Talc Personal Injury Claims and Expunging Such
                   Claims from the Claims Register [Docket No. 1776 – filed May 29, 2020]

                   Objection / Response Deadline:        June 19, 2020 at 4:00 p.m. (ET)

                   Objection / Responses Received:

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                   A.   Memorandum of Law of Robert Gendelman, Executor of the Estate of
                        Sherri Gendelman and Robert Gendelman in His Own Rights in Limited
                        Opposition to Debtor’s Motion for Order Confirmation Classification and
                        Expungement of Certain Claims Filed by Out of State Counsel Pursuant to
                        Del. Bankr. L.R. 9010-1(e)(iii) [Docket No. 1836 – filed June 11, 2020]

                   B.   Memorandum of Law of Ramek Fleming Executory of the Estate of
                        Melissa Fleming and Ramek Fleming in His Own Rights in Limited
                        Opposition to Debtor’s Motion for Order Confirmation Classification and
                        Expungement of Certain Claims Filed by Out of State Counsel Pursuant to
                        Del. Bankr. L.R. 9010-1(e)(iii) [Docket No. 1837 – filed June 11, 2020]

                   C.   Objection of the Ad Hoc Committee of Imerys Talc Litigation Plaintiffs to
                        Motion of the Debtors for an Order Confirming Classification of Certain
                        Claims Filed in the Chapter 11 Cases as Talc Personal Injury Claims And
                        Expunging Such Claims from the Claims Register [Docket No. 1899 –
                        filed June 19, 2020]

                   D.   Chubb Insurers’ Opposition to Debtors’ Motion for an Order Confirming
                        Classification of Certain Claims Filed in the Chapter 11 Cases as Talc
                        Personal Injury Claims and Expunging Such Claims from the Claims
                        Register [Docket No. 1900 – filed June 19, 2020]

                   E.   Objection of Arnold & Itkin Plaintiffs to Motion of the Debtors for an
                        Order Confirming Classification of Certain Claims Filed in the Chapter 11
                        Cases as Talc Personal Injury Claims and Expunging Such Claims from
                        the Claims Register [Docket No. 1902 – filed June 19, 2020]

                   F.   Limited Objection and Reservation of Rights of Broadview Investments,
                        LLC, PTI Union, LLC, and PTI Royston, LLC to Motion of the Debtors
                        for an Order Confirming Classification of Certain Claims Filed in the
                        Chapter 11 Cases as Talc Personal Injury Claims from the Claims Register
                        [Docket No. 1903 – filed June 19, 2020]

                   G.   Objection of Industries to Motion of the Debtors for an Order Confirming
                        Classification of Certain Claims Filed in the Chapter 11 Cases as Talc
                        Personal Injury Claims from the Claims Register [Docket No. 1904 – field
                        June 19, 2020]

                   H.   Objection of Cyprus Mines Corporation and Cyprus Amax Minerals
                        Company to Debtors’ Classification and Expungement Motion [Docket
                        No. 1905 – filed June 19, 2020]

                   I.   Objection of Continental Casualty Company, Columbia Casualty
                        Company, and the Continental Insurance Company to Debtors’ Motion for
                        an Order Confirming Classification of Certain Claims Filed in the Chapter
                        11 Cases as Talc Personal Injury Claims and Expunging Such Claims
                        from the Claims Register [Docket No. 1906 – filed June 19, 2020]
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                   J.    Joinder of Brenntag North America, Inc. and Brenntag Specialties, Inc. in
                         Objections to the Motion of the Debtors for an Order Confirming
                         Classification of Certain Claims Filed in the Chapter 11 Cases as Talc
                         Personal Injury Claims and Expunging Such Claims from the Class
                         Register [Docket No. 1907 – filed June 19, 2020]

                   K.    Limited Objection and Joinder of Personal Care Products Council to
                         Claimants’ Objections to Debtor’s Motion for Order Confirmation
                         Classification and Expungement Of Certain Claims [DE 1776] [Docket
                         No. 1909 – filed June 19, 2020]

                   L.    Cyprus Historical Excess Insurers and RMI Insurers (Certain Insurers)
                         Opposition to Debtors’ Motion for an Order Confirming Classification of
                         Certain Claims Filed in the Chapter 11 Cases as Talc Personal Injury
                         Claims and Expunging Such Claims from the Claims Register [Dkt. 1776]
                         [Docket No. 1910 – filed June 19, 202]

                   M.    Objection of Johnson & Johnson and Johnson & Johnson Consumer Inc.
                         to Motion of the Debtors for an Order Confirming Classification of
                         Certain Claims Filed in the Chapter 11 Cases as Talc Personal Injury
                         Claims and Expunging Such Claims from the Claims Register [Docket
                         No. 1912 – filed June 19, 2020]

                   N.    Objection and Joinder of Talcum Powder Retailers to Objection of
                         Johnson & Johnson and Johnson & Johnson Consumer Inc. to Motion of
                         the Debtors for an Order Confirming Classification of Certain Claims
                         Filed in The Chapter 11 Cases as Talc Personal Injury Claims and
                         Expunging Such Claims from the Claims Register [Docket No. 1913 –
                         filed June 19, 2020]

                   O.    Limited Objection and Joinder of PolyOne Corporation in the Objections
                         to the Motion of the Debtors for an Order Confirming Classification of
                         Certain Claims Filed in the Chapter 11 Cases as Talc Personal Injury
                         Claims and Expunging Such Claims From the Class Register [Docket No.
                         1919 – filed June 23, 2020]

                   P.    Limited Objection and Joinder of Aspen American Insurance Company in
                         the Objections to the Motion of the Debtors for an Order Confirming
                         Classification of Certain Claims Filed in the Chapter 11 Cases as Talc
                         Personal Injury Claims and Expunging Such Claims from the Claims
                         Register [Docket No. 2500 – filed November 11, 2020]

                   Q.    Informal comments from the Office of the United States Trustee

                   Related Documents:

                   i.    Notice of Submission of Copies of Proofs of Claim Regarding Motion of
                         the Debtors for an Order Confirming Classification of Certain Claims
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                          Filed in the Chapter 11 Cases as Talc Personal Injury Claims and
                          Expunging Such Claims from the Claims Register [Docket No. 1858 -
                          filed June 16, 2020]

                   ii.    Notice of Rescheduled Hearing Regarding Motion of the Debtors for an
                          Order Confirming Classification of Certain Claims Filed in the Chapter 11
                          Cases as Talc Personal Injury Claims and Expunging Such Claims from
                          the Claims Register [Docket No. 2087 – filed August 13, 2020]

                   Status: The Debtors and objecting claimants have agreed to continue the hearing
                           on this Motion to the confirmation hearing (the “Confirmation Hearing”)
                           with respect to the Debtors’ proposed chapter 11 plan. The Confirmation
                           Hearing is currently scheduled for February 7, 2021 at 10:00 a.m. (ET)
                           and may be adjourned by the Debtors to a later date upon notice to the
                           objecting claimants.

         3.        Debtors’ Objection to Proof of Claim Nos. 915, 922, and 926 Filed by Johnson &
                   Johnson, Johnson & Johnson Consumer Inc. and Their Affiliates [Docket No.
                   2284 – filed October 5, 2020]

                   Objection / Response Deadline:         November 2, 2020 at 4:00 p.m. (ET)

                   Objections / Responses Received:

                   A.     Johnson & Johnson and Johnson & Johnson Consumer Inc.’s Preliminary
                          Response to the Debtors’ Objection to Proof of Claim Nos. 915, 922, and
                          926 filed by Johnson & Johnson, Johnson & Johnson Consumer Inc. and
                          Their Affiliates [Docket No. 2465 – filed November 3, 2020]

                   Related Documents:

                   Status: The hearing on the Objection has been continued to December 17, 2020 at
                           10:00 a.m. (ET).

         4.        Debtors’ Motion to Compel Compliance with Rule 2019 of the Federal Rules of
                   Bankruptcy Procedure [Docket No. 2457 – filed November 2, 2020]

                   Objection / Response Deadline:         November 9, 2020 at 4:00 p.m. (ET);
                                                          extended for the Ad Hoc Committee of
                                                          Imerys Talc Litigation Plaintiffs to
                                                          November 12, 2020 at 10:00 A.m. (ET)

                   Objections / Responses Received:

                   A.     Response and Reservation of Rights of Arnold & Itkin LLP to Debtors’
                          Motion to Compel Compliance With Rule 2019 of the Federal Rules of
                          Bankruptcy Procedure [Docket No. 2485 – filed November 9, 2020]

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                   B.     Response and Reservation of Rights of Williams Hart Boundas Easterby,
                          LLP to Debtors’ Motion to Compel Compliance With Rule 2019 [Docket
                          No. 2486 – filed November 9, 2020]

                   C.     Response and Reservation of Rights of Kline & Specter, PC to Debtors’
                          Motion to Compel Compliance With Rule 2019 of the Federal Rules of
                          Bankruptcy Procedure [Docket No. 2487 – filed November 9, 2020]

                   D.     Response and Reservation of Rights of the Ad Hoc Committee of Imerys
                          Talc Litigation Plaintiffs to Debtors’ Motion to Compel Compliance With
                          Rule 2019 of the Federal Rules of Bankruptcy Procedure [Docket No.
                          2498 – filed November 11, 2020]

                   Related Documents: None.

                   Status: Each of the responding parties have agreed to file statements in advance of
                           the hearing and, to the extent that they do so and the disclosures are
                           adequate, the Motion will be mooted. Accordingly, the hearing on the
                           Motion is continued to the hearing scheduled for December 17, 2020 at
                           10:00 a.m. (ET) so that the Debtors can determine if the disclosures are
                           adequate and the Motion can therefore be withdrawn.

II.      CONTESTED MATTERS GOING FORWARD:

         5.        Debtors’ Motion for Entry of Orders (I) (A) Establishing Bidding Procedures,
                   Assumption and Assignment Procedures, and Stalking Horse Procedures for Sale
                   of Substantially All Assets, (B) Scheduling Auction and Sale Hearing, and
                   (C) Approving Form and Manner of Notice Thereof, (II) Approving Sale of
                   Substantially All Assets Free and Clear of Liens, Claims, Encumbrances, and
                   Other Interests, (III) Authorizing Assumption and Assignment of Executory
                   Contracts and Unexpired Leases, and (IV) Granting Related Relief [Docket No.
                   1718 – filed May 15, 2020]

                   Sale Objection / Response Deadline: November 2, 2020 at 4:00 pm (ET)

                   Objections / Responses Received:

                   A.     Sheldon Independent School District’s Limited Objection to the Debtors’
                          Motion for the Sale of Substantially All Assets [Docket No. 2303 – filed
                          October 6, 2020]

                   Cure Objections / Responses Received:

                   A.     Limited Objection and Reservation of Rights of SunTrust Equipment
                          Finance & Leasing Corp. in Connection With the Debtors’ Notice of
                          Possible Assumption and Assignment of Certain Executory Contracts and
                          Unexpired Leases [Docket No. 2070 – filed August 10, 2020]

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                   B.     Cyprus Mines Corporation and Cyprus Amax Minerals Company’s
                          Protective Objection and Reservation of Rights Regarding Debtors’ Notice
                          of Possible Assumption and Assignment of Certain Executory Contracts
                          and Unexpired Leases [Docket No. 2071 – filed August 11, 2020]

                   C.     Reservation of Rights of United Steel, Paper and Forestry, Rubber,
                          Manufacturing, Energy, Allied Industrial and Service Workers
                          International Union to Notice of Possible Assumption and Assignment of
                          Certain Executory Contracts and Unexpired Leases [Docket No. 2072 –
                          filed August 11, 2020]

                   D.     Limited Objection of Infor (US), Inc. to Proposed Sale of Substantially All
                          of the Debtors’ Assets and Proposed Assumption and Assignment of
                          Executory Contracts [Docket No. 2073 – filed August 11, 2020]

                   E.     Cyprus Historical Excess Insurers’ Protective Objection and Reservation
                          of Rights Regarding Debtors’ Notice of Possible Assumption and
                          Assignment of Certain Executory Contracts and Unexpired Leases
                          [Docket No. 2077 – filed August 11, 2020]

                   F.     Johnson & Johnson’s Objection and Reservation of Rights Regarding
                          Debtors’ Notice of Possible Assumption and Assignment of Certain
                          Executory Contracts and Unexpired Leases [Docket No. 2091 – filed
                          August 14, 2020]

                   Related Documents:

                   i.     Order (I) (A) Establishing Bidding Procedures, Assumption and
                          Assignment Procedures, And Stalking Horse Procedures for Sale of
                          Substantially All Assets, (B) Scheduling Auction and Sale Hearing, and
                          (C) Approving Form and Manner of Notice Thereof, and (II) Granting
                          Related Relief [Docket No. 1950 – entered June 30, 2020]

                   ii.    Statement of Imerys, S.A. in Connection with the Pending Sale of
                          Substantially All of the Debtors’ Assets [Docket No. 1975 – filed July 10,
                          2020]

                   iii.   Notice of Modified Deadlines Contained in the Bidding Procedures and
                          the Bidding Procedures Order [Docket No. 2039 – filed July 28, 2020]

                   iv.    Notice of Possible Assumption and Assignment of Certain Executory
                          Contracts and Unexpired Leases [Docket No. 2040 – filed July 28, 2020]

                   v.     Supplemental Notice of Possible Assumption and Assignment of Certain
                          Executory Contracts and Unexpired Leases [Docket No. 2142 – filed
                          August 28, 2020]


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                   vi.       Second Notice of Modified Deadlines Contained in the Bidding
                             Procedures and Bidding Procedures Order [Docket No. 2189 – filed
                             September 11, 2020]

                   vii.      Third Notice of Modified Deadlines Contained in the Bidding Procedures
                             and Bidding Procedures Order [Docket No. 2329 – filed October 13,
                             2020]

                   viii.     Notice of (I) Designation of Stalking Horse Bidder, (II) Filing of Stalking
                             Horse Agreement and Proposed Sale Order and (III) Request for Approval
                             of Bid Protections [Docket No. 2330 – filed October 13, 2020]

                   ix.       Notice of Sale, Bidding Procedures, Auction, and Sale Hearing [Docket
                             No. 2385 – filed October 22, 2020]

                   x.        Notice of Filing of Amendment to Stalking Horse Agreement [Docket No.
                             2418 – filed October 27, 2020]

                   xi.       Second Supplemental Notice of Possible Assumption and Assignment of
                             Certain Executory Contracts and Unexpired Leases [Docket No. 2437 –
                             filed October 28, 2020]

                   xii.      Order (I) Approving the Debtors’ Designation of Magris Resources
                             Canada Inc. as Stalking Horse Bidder and Related Bid Protections and
                             (II) Granting Related Relief [Docket No. 2439 – entered October 29,
                             2020]

                   xiii.     Notice of Auction Cancellation and Successful Bidder [Docket No. 2494 -
                             - filed November 11, 2020]

                   xiv.      Notice of Filing of Letter Agreement and First Amendment to Mining
                             Lease and Sublease to be Assumed and Assigned in Connection with the
                             Proposed Sale of Substantially All of the Debtors’ Assets [Docket No.
                             2495 - filed November 11, 2020]

                   Witnesses: The Debtors anticipate that the following witnesses will be testifying
                   via declaration in support of the sale at the hearing:

                   a.      Kevin P. Collins, CFA, as sole member of the Special Committee of the
                           Debtors’ boards of directors and a member of the Debtors’ boards of
                           directors

                   b.      Phillip Smith, Director in the Strategic Advisory Group at PJT Partners LP

                   c.      Matthew Felton, President and CFO of Magris Resources Canada Inc.




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                   Status: The hearing on this matter is going forward. Attached hereto to as Exhibit
                           A is a chart identifying the status of each response or objection received,
                           including certain informal comments received, to the proposed sale.

         6.        Motion of Debtors for Entry of an Order (I) Authorizing the Debtors to Obtain
                   Postpetition Financing, (II) Granting Liens and Superpriority Administrative
                   Expense Claims, (III) Modifying the Automatic Stay, and (IV) Granting Related
                   Relief [Docket No. 2459 – filed November 2, 2020]

                   Objection / Response Deadline:         November 9, 2020 at 4:00 p.m. (ET);
                                                          extended for U.S. Trustee to November 10,
                                                          2020 at 4:00 p.m. (ET)


                   Objections / Responses Received:

                   A.      Informal Comments from the U.S. Trustee

                   Related Documents:

                   i.      Declaration of Edgar William Mosley II in Support of Motion of Debtors
                           for Entry of an Order (I) Authorizing the Debtors to Obtain Postpetition
                           Financing, (II) Granting Lien and Superpriority Administrative Expense
                           Claims, (III) Modifying Automatic Stay, and (IV) Granting Related Relief
                           [Docket No. 2460 – filed November 2, 2020]

                   ii.     Notice of Filing Exhibit to DIP Motion [Docket No. 2472 – filed
                           November 5, 2020]

                   Witnesses: The Debtors anticipate that the following witnesses will be testifying
                   via declaration in support of the Motion at the hearing:

                   a. Kevin P. Collins, CFA, as sole member of the Special Committee of the
                      Debtors’ boards of directors and a member of the Debtors’ boards of directors

                   b.    Edgar William Mosley II, Managing Director at Alvarez & Marsal North
                         America, LLC

                   Status: The hearing on this matter is going forward. The Debtors have been
                           working with the U.S. Trustee in an effort to resolve the U.S. Trustee’s
                           informal comments to the Motion. In the event that the Debtors are able
                           to resolve all such comments, the Debtors intend to submit a revised form
                           of order under Certification of Counsel in advance of the hearing.




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Dated: November 12, 2020
       Wilmington, Delaware       /s/ Michael J. Merchant
                                    RICHARDS, LAYTON & FINGER, P.A.

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                                   Michael J. Merchant (No. 3854)
                                   Amanda R. Steele (No. 5530)
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                                   - and -

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